                                DECISION
{¶ 1} This cause came on to be considered upon a notices of appeal, the transcript of the docket and journal entries, the transcript of proceedings and original papers from the *Page 2 
Butler County Court of Common Pleas, Juvenile Division, and upon the briefs filed by appellants' counsel, oral argument having been waived.
  {¶ 2} Counsel for appellant, Tonya A., and counsel for appellant, Paul S., have each filed briefs with this court pursuant to Anders v.California (1967), 386 U.S. 738, 87 S.Ct. 1396, which (1) indicate that a careful review of the record from the proceedings below fails to disclose any errors by the trial court prejudicial to the rights of appellant upon which an assignment of error may be predicated; (2) lists three potential errors "that might arguably support the appeal,"Anders, at 744, 87 S.Ct. at 1400; (3) requests that this court review the record independently to determine whether the proceedings are free from prejudicial error and without infringement of appellants' constitutional rights; (4) requests permission to withdraw as counsel for appellant on the basis that the appeal is wholly frivolous; and (5) certifies that a copy of both the brief and motion to withdraw have been served upon appellant.
  {¶ 3} Having allowed appellants sufficient time to respond, and no response having been received, we have accordingly examined the record and find no error prejudicial to appellants' rights in the proceedings in the trial court. The motions of counsel for appellants requesting to withdraw as counsel are granted, and these appeals are dismissed for the reason that they are wholly frivolous.
BRESSLER, P.J., POWELL and RINGLAND, JJ., concur. *Page 1 